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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

____________________________________
                                    :
UNITED STATES OF AMERICA,           :                Criminal No. 04-280 (FSH)
                                    :
                                    :
            v.                      :                ORDER
                                    :
RAKIM BASKERVILLE,                  :                February 3, 2010
                                    :
                  Defendant.        :
____________________________________:

       This matter having come before the Court upon Rakim Baskerville’s Motion for a New

Trial pursuant to Fed. R. Crim. P. 33; and the Court having received an opposition from the

Government; and the Court noting that Defendant Baskerville seeks a new trial on the basis of

newly discovered evidence, specifically arguing that the Government failed to disclose potential

impeachment materials on Officer George Snowden, one of the Government’s witnesses at

Defendant’s trial;1 and the Court further noting that Federal Rule of Criminal Procedure 33(a)

states, in relevant part, “[u]pon the defendant’s motion, the court may vacate any judgment and

       1
           According to the Government, “prior to calling Snowden to the stand, the government
made a formal written request to the Newark Police Department and the DEA to search their files
and deliver to the government any potential impeachment materials they possessed regarding
Snowden.” Both agencies responded that they had no potential impeachment materials for
Snowden and the DEA advised the Government to contact the Newark Police Department. After
the conclusion of the trial in this matter, Snowden was hired by the Monmouth County
Prosecutor’s Office and during his background check, it was revealed that a final civil restraining
order had been issued against Snowden in connection with a verbal argument he had over the
telephone with a former girlfriend on New Year’s Eve in 1996. In October 2006, upon learning
that the final civil restraining order was in effect, Snowden petitioned Union County Family
Court to dismiss the order. The order was dismissed on December 8, 2006. Over a year later, in
connection with preparing for another trial, the Government made a request of the Monmouth
County Prosecutor’s Office for potential impeachment materials relating to Snowden. In
response, Monmouth County informed the Government of this civil restraining order. Upon
learning this new information, by letter dated September 16, 2008, the Government informed
Defendant Baskerville and his co-Defendant Hakeem Curry of the above information.
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grant a new trial if the interest of justice so requires;” and the Third Circuit indicating that a new

trial should be granted only if “there is a serious danger that a miscarriage of justice has

occurred-that is an innocent person has been convicted;”2 and the Court noting that “[u]nlike an

insufficiency of the evidence claim, when a district court evaluates a Rule 33 motion it does not

view the evidence favorably to the Government, but instead exercises its own judgment in

assessing the Government's case;”3 and it appearing that for this Court to grant a new trial it must

find that the information regarding the civil restraining order constitutes newly discovered

evidence and that this evidence is of such a nature that the interests of justice require a new trial;

and Baskerville arguing that the civil restraining order constitutes newly discovered evidence

because he would have been able to cross-examine Snowden at trial regarding the 1996 argument

with his girlfriend; and the Court noting that impeachment with prior specific instances of

conduct is governed by Federal Rule of Civil Procedure 608(b);4 and the Court further noting that

inquiries into specific conduct of witnesses for impeachment purposes is limited to the issue of

truthfulness;5 and the Court finding that in determining whether the civil restraining order is a

permissible subject for cross-examination it must engage in a balancing test weighing the



       2
         United States v. Johnson, 302 F.3d 139, 150 (3d Cir. 2002) (quoting United States v.
Santos, 20 F.3d 280, 285 (7th Cir. 1994) and United States v. Morales, 902 F.2d 604, 606 (7th
Cir. 1990))
       3
         Johnson, 302 F.3d at 150 (citing United States v. Lacey, 219 F.3d 779, 783-84 (8th
Cir.2000); United States v. Ashworth, 836 F.2d 260, 266 (6th Cir.1988)).
       4
          Federal Rule of Evidence 608(b) states that specific instances of conduct “may . . . in
the discretion of the court, if probative of truthfulness or untruthfulness, be inquired into on cross
examination.”
       5
           See United States v. Borca, 623 F.2d 281, 288 (3d Cir. 1980).

                                                  2
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probative value on the issue of truthfulness versus the prejudicial value of the conduct pursuant

to Federal Rule of Evidence 403;6 and the Court, after engaging in the appropriate balancing test,

finds that the civil restraining order would not be the proper subject of cross-examination

because it did not involve conduct that would lead one to question Snowden’s veracity and the

incident, having occurred some 9 years earlier, was so remote in time that this incident would be

more prejudicial than probative; and the Court further finding that even if it had found that the

civil restraining order constituted newly discovered evidence that was a permissible subject of

cross-examination, nonetheless Defendant Baskerville would not be entitled to a new trial based

on newly discovered evidence because there is virtually no connection between this old civil

restraining order involving Snowden’s girlfriend and the very serious drug conspiracy crimes

committed by Baskerville;7 and the Court further finding that there was no Brady or Giglio


       6
           See id. Conduct involving lying, theft, perjury, fraud or deception are generally
considered probative of truthfulness, and therefore permissible subjects of cross-examination. Id.
Conversely, courts have denied cross-examination of specific instances of conduct, such as
conduct that involved the issuance of a temporary order of protection, that are not probative of
either truthfulness or untruthfulness. See United States v. Flaharty, 295 F.3d 182, 191 (2d Cir.),
cert. denied, 537 U.S. 936 (2002); United States v. Brown, 2009 WL 497606 *1 (E.D.N.Y.
2009). In addition, older instances of conduct have been determined to be less probative and
more prejudicial. See United States v. Schwab, 886 F.2d 509, 513-14 (2d Cir. 1989), cert.
denied, 493 U.S. 1080 (1990).
       7
          To obtain a new trial based on newly discovered evidence, a defendant in this Circuit
must satisfy five requirements:
       (a) the evidence must be in fact newly discovered, i.e. discovered since trial; (b)
       facts must be alleged from which the court may infer diligence on the part of the
       movant; (c) the evidence relied on must not be merely cumulative or impeaching;
       (d) it must be material to the issues involved; and (e) it must be such, and of such
       nature, as that, on a new trial, the newly discovered evidence would probably
       produce an acquittal.


United States v. Saada, 212 F.3d 210, 216 (3d Cir. 2000). In order for a motion of this type to

                                                 3
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violation in the Government’s failure to disclose information regarding Snowden’s civil order of

protection because the Government was not aware of the order;8 and that the Government did

disclose the facts to the Defendants as soon as it learned of them; and for good cause having been

shown,

         IT IS on this 3rd day of February, 2010,

         ORDERED that Defendant’s Motion for a New Trial pursuant to Fed. R. Crim. P. 33 is

DENIED.

                                                                s/ Faith S. Hochberg
                                                                Faith S. Hochberg, U.S.D.J.




be granted, all five of these requirements must be met. United States v. Ianelli, 528 F.2d 1290,
1292 (3d Cir. 1976). In the instant case, Baskerville cannot meet all five of these requirements.
Assuming that Defendant can meet the first two requirements, he cannot possibly meet the
remaining three. Defendant, himself, at page 2 of his brief refers to the new evidence as
“potential impeachment material.” Snowden’s civil protection order is wholly unrelated to the
issues involved, i.e., Defendant’s guilt or innocence, let alone “material” to them. Finally,
Defendant cannot possibly show that the newly discovered evidence would “probably produce an
acquittal.”
         8
          See United States v. Agurs, 427 U.S. 97, 103 (1976); see also United States v. Tillem,
906 F.2d 814, 824 (2d Cir. 1990) (the government is only required to turn over information of
which it is aware).

                                                    4
